    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 1 of 10


                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 IN RE SYNGENTA AG MIR162 CORN
 LITIGATION                                     Master File No. 2:14-MD-02591-JWL-JPO

 THIS DOCUMENT RELATES TO                       MDL No. 2591
 ALL CASES EXCEPT:

   Louis Dreyfus Company Grains
   Merchandising LLC v. Syngenta AG, et
   al., No: 16-2788-JWL

   Trans Coastal Supply Company, Inc. v.
   Syngenta ) AG, et al, 2:14-cv-02637-JWL-
   JPO

   The Delong Co., Inc. v. Syngenta AG et
   al., No. 2:147-cv-02614-JWL-JPO

   Agribase International Inc. v. Syngenta
   AG et al., 2:2015-cv-02279


         ORDER PRELIMINARILY APPROVING THE SETTLEMENT
      BETWEEN CLASS PLAINTIFFS AND THE SYNGENTA DEFENDANTS,
    PROVISIONALLY CERTIFYING THE SETTLEMENT CLASS, APPOINTING
      SETTLEMENT CLASS COUNSEL SUBCLASS COUNSEL, AND CLASS
   REPRESENTATIVES, APPROVING THE NOTICE PLAN, AND AUTHORIZING
DISSEMINATION OF NOTICE, APPOINTING THE NOTICE ADMINISTRATOR AND
     CLAIMS ADMINISTRATOR AND SPECIAL MASTERS, AND SETTING A
             SCHEDULE FOR THE FINAL APPROVAL PROCESS

       On March 12, 2018, the Plaintiffs moved for preliminary approval of a class-action

settlement pursuant to Federal Rule of Civil Procedure 23 (“Plaintiffs’ Motion for Preliminary

Approval”). A settlement agreement titled the Agrisure Viptera/Duracade Class Settlement

Agreement was executed on February 26, 2018 (“Settlement Agreement”) between proposed

Settlement Class and Subclass Counsel, MDL Co-Lead and Litigation Class Counsel, and the

Court-appointed Plaintiffs’ Settlement Negotiation Committee, on behalf of the Plaintiffs and

Defendants Syngenta AG, Syngenta Crop Protection AG, Syngenta Corporation, Syngenta Crop

Protection, LLC, Syngenta Seeds, Inc. (now known as Syngenta Seeds, LLC), and Syngenta
                                            1
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 2 of 10


Biotechnology, Inc. (now merged with Syngenta Crop Protection, LLC, with Syngenta Crop

Protection, LLC, as the remaining entity) (collectively, “Syngenta” or “Defendants”). The Court

has reviewed the Plaintiffs’ Motion for Preliminary Approval and other relief (ECF No. 3506) and

their Memorandum in Support Thereof (ECF No. 3507 (“Memorandum”)), including the

Settlement Agreement attached as Exhibit A to the Memorandum. The Court has also considered

the only written opposition to the motion, which was filed by the Toups/Coffman plaintiffs and in

which the Hossley-Embry plaintiffs joined. In addition, the Court also conducted a hearing on the

motion on April 5, 2018. Finding that settlement meets the initial requirements of Rule 23 to

warrant dissemination of notice to members of the proposed Settlement Class, and as more fully

set forth on the record of the hearing and in the Court’s Memorandum and Order of April 10, 2018,

the Court hereby orders as follows:

        1.      Plaintiffs’ Motion for Preliminary Approval is GRANTED.            The Settlement

Agreement appears, upon preliminary review, to be sufficiently fair and reasonable and well within

the range of possible approval so as to warrant preliminary approval and dissemination of notice

to the Class.     Accordingly, the proposed settlement is preliminarily approved, including

preliminary approval of the method of allocation and distribution of the Settlement Funds, pending

a final Fairness Hearing as provided for below.

        2.      Pursuant to the terms of the Settlement Agreement, the Court appoints Ellen K.

Reisman and The Honorable Daniel J. Stack as Special Masters to perform such duties and

responsibilities as provided for therein.

        3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court provisionally

certifies the following Settlement Class, including the defined Subclasses, for settlement purposes

only:




                                                  2
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 3 of 10


       Any Person1 in the United States that during the Class Period owned any Interest
       in Corn in the United States priced for sale during the Class Period and falls into
       one of the four sub-classes.

       The Settlement Subclasses are defined as:

           a. Subclass 1: Any Producer in the United States that, during the Class Period owned
              any Interest in Corn in the United States priced for sale during the Class Period,
              excluding Producers that, at any time prior to the end of the Class Period,
              purchased Agrisure Viptera Corn Seed or Agrisure Duracade Corn Seed and
              produced Corn grown from Agrisure Viptera Corn Seed and/or Agrisure Duracade
              Corn Seed. (“Non-Viptera/Duracade Purchaser Subclass”);

           b. Subclass 2: Any Producer in the United States that during the Class Period owned
              any Interest in Corn in the United States priced for sale during the Class Period
              and that, at any time prior to the end of the Class Period, purchased Agrisure
              Viptera Corn Seed and/or Agrisure Duracade Corn Seed and produced Corn grown
              from Agrisure Viptera Corn Seed or Agrisure Duracade Corn Seed.
              (“Viptera/Duracade Purchaser Subclass”);

           c. Subclass 3: Any Grain Handling Facility in the United States that during the Class
              Period owned any Interest in Corn in the United States priced for sale during the
              Class Period. (“Grain Handling Facility Subclass”); and

           d. Subclass 4: Any Ethanol Production Facility in the United States that during the
              Class Period owned any Interest in Corn in the United States priced for sale during
              the Class Period. (“Ethanol Production Facility Subclass”).

       Excluded from the Settlement Class are: (a) the Court and its officers, employees,
       appointees, and relatives; (b) Syngenta and its affiliates, subsidiaries, officers,
       directors, employees, contractors, agents, and representatives; (c) all plaintiffs’
       counsel in the MDL Actions or the Related Actions; (d) government entities; (e)
       those who opt out of the Settlement Class; and (f) “Excluded Exporters.”2

1
       Any capitalized term that is not defined in this order is intended to have the definition
ascribed to that term in the Settlement Agreement.
       2
          Excluded Exporter means Archer Daniels Midland Company, Bunge North America, Inc.,
Cargill, Incorporated, Cargill, International SA, Louis Dreyfus Company, BV, Louis Dreyfus
Company, LLC, Louis Dreyfus Company Grains Merchandising, LLC, Gavilon Grain, LLC, Trans
Coastal Supply Company, Inc., Agribase International Inc., or the Delong Co. Inc., and their
respective parent(s) and each of their predecessors, affiliates, assigns, successors, related
companies, subsidiary companies, holding companies, insurers, reinsurers, current and former
attorneys, and their current and former members, partners, officers, directors, agents, and
employees, in their capacity as such, any licensees, distributors, retailers, seed dealers, seed
advisors, other resellers, and their insurers, and affiliates, in their capacity as such. Excluded
Exporter does not include, however, any Grain Handling Facilities or Ethanol Production
Facilities, except those operated, owned (in whole or in part, directly or indirectly), or administered
by one of the entities specifically listed in this paragraph.
                                                    3
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 4 of 10




       4.      Pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, the Court

provisionally finds, for settlement purposes, that the Settlement Class and Subclasses meet the

requirements thereto. Specifically, for the reasons outlined in Plaintiffs’ Motion for Preliminary

Approval:

                   a. The Settlement Class and each Subclass are so numerous that joinder of
                      all members is impracticable, Fed. R. Civ. P. 23(a)(1);

                   b. There are questions of law or fact common to the Settlement Class and
                      each Subclass, Fed. R. Civ. P. 23(a)(2);

                   c. The claims of the representatives of the Settlement Class and each
                      Subclass are typical of the claims of absent members of the Settlement
                      Class and each Subclass, Fed. R. Civ. P. 23(a)(3);

                   d. The representatives of the Settlement Class and each Subclass will fairly
                      and adequately protect the interest of the Settlement Class and each
                      Subclass, Fed. R. Civ. P. 23(a)(4); and

                   e. The questions of law or fact common to the Settlement Class and each
                      Subclass predominate over any questions affecting only individual
                      members and a class action is superior to other available methods for
                      fairly and efficiently adjudicating the controversy, Fed. R. Civ. P.
                      23(b)(3).

       5.      Pursuant to Rule 23(g) and for the reasons set forth in Plaintiffs’ Motion for

Preliminary Approval, the Court appoints the following individuals as Settlement Class Counsel,

to act as class counsel for purposes of the Settlement Class and for the Non-Viptera/Duracade

Purchaser Subclass: Daniel E. Gustafson, Christopher A. Seeger and Patrick J. Stueve. The Court

also appoints the following individuals as class counsel for the Subclasses:

            a. The Viptera/Duracade Purchaser Subclass Counsel: Lynn R Johnson

            b. The Grain Handling Facility Subclass Counsel: Kenneth A. Wexler

            c. The Ethanol Production Facility Subclass Counsel: James E. Cecchi




                                                4
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 5 of 10


       6.      The Court appoints the following Persons to represent the Settlement Class and

Subclasses (“Representatives Plaintiffs”):

            a. For the Non-Viptera/Duracade Purchaser Subclass:         Mike DaVault, Bradley

               DaVault, and David DaVault d/b/a DaVault ArkMo Farms; Steven A. Wentworth;

               Charles B. Lex; Five Star Farms; the “Grafel entities” (Beaver Creek Farms, Inc.,

               Demmer Farms, Inc., Grafel Farms, LLC, and D. and S. Grain & Cattle Co.); David

               Polifka; David Polifka Revocable Living Trust; Bottoms Farms Partnership; JPPL,

               Inc.; NEBCO, Inc.; TRIPLE BG Partnership; David Schwaninger; Kaffenbarger

               Farms, Inc.; Bieber Farm; Rolling Ridge Ranch, LLC; Grant Annexstad; Roger

               Ward; and, Leroy Edlund.

            b. For the Viptera/Duracade Purchaser Subclass: Robert & Todd Niemeyer (Custom

               Farm Services LLC), Charles Cobb (CE Cobb Farms) and, Marvin Miller.

            c. For the Grain Handling Facility Subclass: Kruseman Fertilizer Company.

            d. For the Ethanol Production Facility Subclass: Al-Corn Clean Fuel, LLC.

       7.      The Court appoints BrownGreer PLC as the Notice Administrator and Claims

Administrator and to have such duties and responsibilities as provided for in the Settlement

Agreement.

       8.      The Court approves the Notice Plan as set forth in Exhibit 4 to the Settlement

Agreement, finding that the Notice Plan fully satisfies the requirements of Rule 23 of the Federal

Rules of Civil Procedure and due process, constitutes the best notice practicable under the

circumstances, and shall constituted due and sufficient notice to all Class Members.

       9.      The Court approves the Long Form Notice (“Notice”), attached as Exhibit 3 to the

Settlement Agreement, with the addition required by the Court in its Memorandum and Order of

April 10, 2018. The Notice Administrator is directed to disseminate the notice in the manner and

according to the Notice Plan within the timeframes set forth below in the Schedule for Final
                                                5
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 6 of 10


Approval Process.

       10.     The Court also approves the Publication Notice, attached as Exhibit 5 to the

Settlement Agreement. The Notice Administrator is directed to publish the Publication Notice in

the manner and in accordance with the Notice Plan within the time frames provided below in the

Schedule for Final Approval Process.

       11.     The Court also directs the Notice Administrator to comply with all other aspects of

the Notice Plan as provided for therein and at the direction of Settlement Class Counsel.

       12.     As provided in the Notice, each Class Member shall have the right to opt out of the

Settlement Classes by submitting a written request for exclusion, in the manner set forth in Section

4.3 of the Settlement Agreement and the Long Form Notice. All such requests must be postmarked

no later than ninety (90) days of the First Mailing of the Class Notice, as set forth below in the

Schedule for Final Approval Process. Any Class Member who does not submit a timely and valid

Request for Exclusion will be deemed to have waived and forfeited his, her or its right to be

excluded from the Settlement Class.

       13.     As provided in the Notice, each Class Member, who does not request to be excluded

from the Settlement shall have the right to object to the Settlement, the proposed plan of allocation

and distribution, the petition for an award of attorneys’ fees and expenses, and the service awards

being sought for Class Representative and those plaintiffs who helped litigate the case for the

Class, by filing a written objection with the Court, in the manner set forth and with copies to the

attorneys listed in Section 4.4 of the Settlement Agreement and the Long Form Notice. All such

objections must be postmarked no later than ninety (90) days of the First Mailing of the Class

Notice, as set forth below in the Schedule for Final Approval Process. Any Class Member who

does not timely file valid written objections in compliance with Section 4.4 of the Settlement

Agreement shall be deemed to have waived and shall forfeit his, her, or its right to object to the

Settlement Agreement, its terms, the petition for attorneys’ fees and expenses, the proposed plan
                                                 6
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 7 of 10


of allocation and distribution, any request for service/incentive awards, and any other aspect of the

settlement or issues relating thereto, including the right to appear and be heard at the Fairness

Hearing and the right to appeal from any judgment relating to these matters.

          14.   The Court approves the form and substance of the Claim Forms for the Producers,

Grain Handling Facilities and Ethanol Facilities, attached as Exhibit 2 to the Settlement Agreement

(“Claim Forms”). The Claims Administrator is directed to make the Claim Forms available for

online submission through the settlement website in a manner that is readily accessible and

submissible via all major Internet browsers via desktop computer, laptop, mobile phone, and tablet

devices. It is further directed to post an electronic copy of the Claim Forms on the settlement

website and to promptly mail a paper copy to any person who requests it by first-class mail or by

e-mail.

          15.   Any Class Member seeking to make a claim for a portion of the Settlement Fund

must submit a claim pursuant to Section 3.7.3 of the Settlement Agreement and in the manner set

forth in the Notice in the timeframe set forth in Exhibit A to the Memorandum.

          16.   The Claims Administrator is directed to review and process claims consistent with

the terms of the Settlement Agreement and to provide reports as provided for therein.

          17.   Settlement Class Counsel shall make any motion or petition for awards of

attorneys’ fees and expenses and for service/case contribution/incentive awards, including any

supporting memoranda and materials, no later than thirty (30) days before the deadline for a Class

Member to file an objection to the settlement by the Fee and Expense Application Deadline set

forth below. Any response or objection to that motion, including any supporting memoranda or

materials, shall be filed on or before the Objection Response Deadline set forth below. Any other

person seeking attorneys’ fees, expenses, or service/case contribution/incentive awards from the

Settlement Fund must file a motion, including any supporting memoranda and materials, by the

Fee and Expense Application Deadline. Any response to such a motion shall be filed on or before
                                                 7
    Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 8 of 10


the Objection Response Deadline as set forth below.

       18.     Settlement Class Counsel shall file a motion for final approval of the settlement,

including any supporting memoranda and materials, no later than fourteen (14) days after the

Syngenta Walk Away Deadline, as set forth below.

       19.     Within ten (10) days after the establishment of the Qualified Settlement Fund and

appointment of an escrow agent pursuant to a further order of this Court, Syngenta is directed to

make the first and second installments of $200 million each into an Escrow Account pursuant to

the terms of the Settlement Agreement (as modified by the parties as set forth in the Joint Motion

to Establish Qualified Settlement Fund and Appoint Escrow Agent).

       20.     A hearing (the “Final Approval Hearing”) will be held by this Court in Courtroom

643 at the U.S. Courthouse in Kansas City, Kansas, on November 15, 2018, at 1:00 p.m. CST to:

(a) determine whether the Settlement should be finally approved as fair, reasonable, and adequate;

(b) determine whether final judgment should be entered dismissing with prejudice all claims

against Defendants pursuant to the Agreement; and (c) consider any application(s)s for attorneys’

fees and expenses and Plaintiffs’ requests for service/case contribution/incentive awards. The

Court will also consider any objections during the Final Approval Hearing. The Court may adjourn

or continue the Final Approval Hearing without further notice to the Settlement Class. The Court

may also approve the Settlement at or after the Final Approval Hearing with or without

modification without further notice to the Settlement Class.

       21.     The Court retains exclusive jurisdiction of this action to consider all further matters

arising out of or connected with the Settlement.




                                                   8
Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 9 of 10


  IT IS SO ORDERED.

  Dated this 10th day of April, 2018, at Kansas City, Kansas.



                                     s/ John W. Lungstrum
                                     HON. JOHN W. LUNGSTRUM
                                     United States District Judge




                                        9
Case 2:14-md-02591-JWL-JPO Document 3532 Filed 04/10/18 Page 10 of 10




           APPROVED SCHEDULE FOR FINAL APPROVAL PROCESS

          ACTION                                       TIMING



                                10 days after the Motion for Preliminary Approval Is
CAFA Notice Deadline
                                Filed

First and Second Installments
                                10 days from the establishment of the Qualified
of Gross Settlement Proceeds
                                Settlement Fund and appointment of an escrow agent
Paid into Escrow

First Mailing of Class Notice   May 11, 2018

Proof of Mailing of Notice      May 30, 2018
Fee and Expense Application
                                July 10, 2018
Deadline
Objection Filing Deadline       August 10, 2018

Opt-out Deadline                August 10, 2018

Opt-Out List                    September 10, 2018
Syngenta Walk Away
                                October 10, 2018
Deadline
Notice Completion Date          October 12, 2018

Claims Deadline                 October 12, 2018
Motion for Final Approval
                                October 17, 2018
Deadline
Objection Response Deadline     October 17, 2018
Response to Final Approval
Motion and Replies to           November 1, 2018
Objections
Reply to Final Approval
                                November 8, 2018
Motion
Final Approval Hearing          November 15, 2018 at 1:00 p.m.
Final Installment of Gross
                                The later of April 1, 2019, or within 30 days after entry
Settlement Proceeds Paid into
                                of the Final Approval Order
Escrow Account

                                          10
